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  15   Consumer Inc.
  16                            UNITED STATES DISTRICT COURT
  17              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  18
       HERMELINDA LUNA,                          Case No. 2:18-cv-04830
  19   ALEXANDRIA HANKS ON BEHALF
       OF THE ESTATE OF TANIA D.                 DEFENDANTS’ MEMORANDUM
  20   HANKS, ETHEL HERRERA,                     OF POINTS AND AUTHORITES
       JEANETTE JONES, BECKY                     IN SUPPORT OF MOTION TO
  21   CANZONERI, MARGARET REED                  DISMISS (FRCP 12(b)(6))
       and BRENDA VERSIC,
  22                                             Date:    July 12, 2018
                          Plaintiffs,            Time:    8:30 a.m.
  23                                             Dept:    9D
                v.                               Judge:   Hon. George H. Wu
  24
       JOHNSON & JOHNSON , JOHNSON               Trial Date:None
  25   & JOHNSON CONSUMER INC., AND              Date Action Filed: March 6, 2018
       DOES 1-25, inclusive,
  26
                          Defendants.
  27
  28
                                                     MEMO OF POINTS AND AUTHORITIES ISO MOTION
                                                                                     TO DISMISS
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   1   I.       INTRODUCTION
   2            Johnson & Johnson and Johnson & Johnson Consumer Inc. (Defendants)
   3   move to dismiss the Complaint, pursuant to Fed. R. Civ. P. 12(b)(6), because each
   4   cause of action in the Complaint improperly rests on no more than a purely
   5   conclusory assertion that the talcum powder products, Johnson’s Baby Powder
   6   (JBP) and Shower to Shower (S+S), contain asbestos and asbestiform fibers.
   7   Plaintiffs’ Proposition 65 and consumer protection claims (based on California
   8   Business & Professions Code Sections 17200 and 17500) fail to state a claim upon
   9   which relief may be granted. They plead no creditable facts in support of their
  10   allegation that Defendants’ products contained, and thus exposed California
  11   consumers to, asbestos and talc containing asbestiform fibers within the time period
  12   relevant to their claims.
  13            The Complaint contains no allegation that Plaintiffs tested these widely
  14   available consumer products to find any asbestos or asbestiform fibers within the
  15   last year, for the Proposition 65 claim, within the last three years, for the Section
  16   17500 claim, or within the last four years, for the Section 17200 claim. Instead,
  17   Plaintiffs allege that products from much earlier time periods, dating back to the
  18   1960s and 1970s, tested positive for asbestos, and claim that all present-day talc
  19   products must have asbestos. That is not enough to satisfy the federal pleading
  20   standards set forth in Ashcroft v. Iqbal and Bell Atlantic Corporation v. Twombly.
  21   In the absence of factual allegations with respect to product testing within the
  22   respective statute of limitations time periods, the Complaint fails to state a plausible
  23   claim and should be dismissed.
  24            Correspondingly, Plaintiffs’ allegations fall short of demonstrating that they
  25   had an adequate factual basis to satisfy the pre-suit notice and merit requirements
  26   that are mandatory prerequisites to filing a Proposition 65 lawsuit. Before filing
  27   their Proposition 65 claim, Plaintiffs were required to serve on Defendants a validly
  28   supported certificate of merit, which requires that Plaintiffs have a credible factual
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   1   basis to support each element of their claim. Absent particularized facts
   2   demonstrating that Defendants’ talcum powder products sold within the last year
   3   have been found to contain asbestos or asbestiform fibers, Plaintiffs cannot
   4   establish an actionable “exposure” under Proposition 65, and therefore could not
   5   have had the requisite pre-suit factual basis for the certificate of merit. Without a
   6   properly supported certificate of merit, Plaintiffs are precluded from pursuing their
   7   Proposition 65 cause of action.
   8            Plaintiffs have not alleged facts sufficient to state a claim under Proposition
   9   65, Section 17200 or Section 17500, and they have not alleged an adequate factual
  10   basis to satisfy Proposition 65 pre-suit merit requirements. Each of Plaintiffs’
  11   causes of action must be dismissed. Fed.R.Civ.P. 12(b)(6).
  12   II.      BACKGROUND
  13            A.        Plaintiffs’ Complaint and Allegations
  14            Plaintiffs assert three causes of action: (1) violation of Proposition 65 (Cal.
  15   Health & Safety Code §§ 25249.5 et seq.); (2) violation of California’s unfair
  16   competition law (Cal. Bus. & Prof. Code §§ 17200 et seq.); and (3) violation of
  17   California’s false advertising law (Cal. Bus. & Prof. Code §§ 17500 et seq.). Each
  18   of Plaintiffs’ causes of action are grounded and rely on conclusory allegations that
  19   JBP and S+S products contain asbestos or asbestiform fibers during the relevant
  20   time periods. See Complaint [Dkt. No. 1-1], ¶¶ 90-97 (Proposition 65); id. ¶¶ 104-
  21   112 (Section 17200); id. ¶¶ 117-120 (Section 17500).
  22            Plaintiffs’ allegations in large part are comprised of an historical chronology
  23   about talc and the alleged presence of asbestos in talcum powder products in prior
  24   decades. See generally, Complaint, ¶¶ 16-66. For instance, Plaintiffs allege:
  25            20. Geologists, Defendants and CTFA1 – and their suppliers, experts,
                agents and advisors – have long known that the deposits in the earth
  26            that are associated with talc are also associated with the formation of
  27   1
             CTFA stands for the Cosmetic, Toiletry & Fragrance Association, now known
  28         as the Personal Care Products Council. See Complaint, ¶ 17.
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   1            asbestos. […] The United States Geological Survey on Commercial
                talc production in 1965, as well as those dating back to the 1800s,
   2            note the presence of tremolite, anthophylite and chrysotile commonly
                among those minerals found within talc deposits. Complaint, ¶ 20.
   3
                22. Beginning in the 1930s, medical and scientific literature emerged
   4            indicating talc was commonly, if not invariably, contaminated with
                substances known or suspected of being carcinogenic, such as
   5            asbestos, silica, quartz, nickel and arsenic. Id. ¶ 22.
   6   Throughout the Complaint, Plaintiffs describe various historical studies and testing
   7   involving talc, talc products, and asbestos, all of which also occurred many years
   8   ago. For example, Plaintiffs allege:
   9            25. In 1968, a study presented at the American Industrial Hygiene
                Conference & Exposition and published in the American Industrial
  10            Hygiene Association Journal concluded that “[a]ll of the 22 talcum
                products analyzed have a…fiber content…averaging 19%... [Id. ¶
  11            25.]
  12            27. A 1976 follow-up study conducted by researchers at Mount Sinai
                Hospital in New York concluded that “[t]he presence in these
  13            products of asbestiform anthophylite and tremolite, chrysotile, and
                quartz indicates the need for a regulatory standard for cosmetic talc…
  14            [Id. ¶ 27.]
  15            29. In 1971, the New York City of Environmental Protection
                Administration Air Resources Board conducted a study of two
  16            “leading” brands of talcum powder using transmission electron
                microscopy (“TEM”) and X-ray diffraction (“XRD”) analysis, and
  17            found them to contain 5-25% tremolite and anthophylite asbestos.
                [Id. ¶ 29.]
  18
                31. After this 1971 symposium, Dr. Weissler of the FDA hired Dr.
  19            Seymour Z. Lewin to test commercially available talcum powders for
                asbestos. Dr. Lewin tested 195 samples and found asbestos of
  20            varying amounts in 43… [Id. ¶ 31.]
  21            33. A December 10, 1973, report of the CRGA’s Talc Subcommittee
                disclosed that optical microscope analyses of talcs from the Italian,
  22            Montana I & II, Alabama, Vermont, and North Carolina mines had
                failed the proposed FDA’s method because of elevated chrysotile
  23            concentrations. [Id. ¶ 33.]
  24            52. Between 1970 and the 1990s, tests conducted by and on behalf
                of Defendants and the talc industry continued to show that talc and
  25            talcum powder products contained asbestos. [Id. ¶ 52.]
  26            In contrast to the detailed but outdated history Plaintiffs provide, nowhere in
  27   the Complaint do Plaintiffs allege that they or anyone else tested Defendants
  28   current products, or products that were sold in California within the last year, three
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   1   years, or four years (i.e., within the applicable statutes of limitation for Plaintiffs’
   2   claims), and that the results of those tests showed the presence of asbestos in
   3   Defendants’ products.2 Rather, Plaintiffs’ allegations regarding asbestos in the
   4   relevant products are wholly conclusory and factually unsupported:
   5             54. To this day, many talc-containing products presently on the
                 market, including JBP and S+S contain Asbestos and Talc
   6             Containing Asbestiform Fibers… [Id. ¶ 54.]
   7             78. [. . .] Defendants manufacture, distribute, market and/or sell in
                 California JBP and S+S containing Asbestos in levels exceeding the
   8             NSRL for inhalation through normal and intended use of the
                 products. [Id. ¶ 78.]
   9
                 83. At all times relevant to this action, Defendants have knowingly
  10             exposed California consumers to Asbestos and Talc Containing
                 Asbestiform Fibers in the offending JBP and S+S talcum powder
  11             products without clear and reasonable warning to such individuals.
                 [Id. ¶ 83.]
  12
                 85. At all times relevant to this action, Defendants’ representatives
  13             have failed to warn California consumers that their JBP and S+S
                 talcum powder products contain cancer-causing Asbestos and Talc
  14             Containing Asbestiform Fibers. [Id. ¶ 85.]
  15             Plaintiffs rely only on conclusory allegations because there is no basis to
  16   allege that any present-day products contain asbestos. In fact, the United States
  17   Food and Drug Administration (FDA) performed independent testing of talcum
  18   powder products, including JBP, for asbestos in the 2009 to 2010 time period, and
  19   found no detectable asbestos. See www.fda.gov/cosmetics/productsingredients/
  20   ingredients/ucm293184.htm. Defendants request that the Court take judicial notice
  21   of the FDA test results. Fed. R. Evid. 201. Plaintiffs fail to allege any facts of
  22   current or recent test results to support their assertion that Defendants’ products
  23   actually at issue in Plaintiffs’ causes of action contain asbestos or asbestiform
  24   fibers.
  25   ///
  26
       2
  27       Defendants regularly test samples of the talc used in JBP and S+S products for
           asbestos, and those tests have consistently shown no detectable asbestos in the
  28       talc.
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    1            B.        Summary of the Law Relevant to Plaintiffs’ Causes of Action
    2                      1.   Proposition 65
    3            Proposition 65 is a warning statute passed by California voters in 1986. In
    4   general terms, Proposition 65 requires that consumer products sold in California
    5   include a warning if the product exposes users to a chemical the State of California
    6   has determined causes cancer or reproductive toxicity, and that exposure exceeds a
    7   determined safe level, i.e., the No Significant Risk Level (NSRL) with respect to
    8   cancer. Cal. Health & Safety Code §§ 25249.6, 25249.10; Cal. Code Regs. tit. 27,
    9   §§ 25701 et seq. (providing the methodology to determine NSRL and to conduct
   10   exposure risk assessments). The Office of Environmental Health Hazard
   11   Assessment (OEHHA) maintains a list of chemicals that are covered under
   12   Proposition 65, which includes asbestos and talc containing asbestiform fibers.3
   13   Cal. Health & Safety Code § 25249.8. Failure to provide a Proposition 65 warning
   14   when a warning is required (i.e., when an exposure to a listed chemical exceeds the
   15   NSRL) can subject the violator to injunctive remedies and civil penalties of up to
   16   $2,500 per violation. Id. § 25249.7. The statute of limitations on Proposition 65
   17   violations is one year. Cal. Civ. Proc. Code § 340.
   18            Thus, a Proposition 65 violation occurs when a product for sale in California,
   19   within the relevant one-year limitations period, exposes a consumer to a listed
   20   chemical above the NSRL without providing the Proposition 65 warning. A
   21   fundamental element, then, of a Proposition 65 cause of action is that the product at
   22   issue actually contain the listed chemical – in this case, JBP and S+S for sale in the
   23   prior year that contained asbestos or asbestiform fibers.
   24            The Attorney General and district attorneys have primary enforcement
   25   authority for Proposition 65. See Cal. Health & Safety Code § 25249.7(c). A
   26   private party can bring a Proposition 65 action only when certain conditions have
   27   3
            The OEHHA list of chemicals can be found at https://oehha.ca.gov/proposition-
   28       65/proposition-65-list.
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    1   been met. Id. § 25249.7(d); Cal. Code Regs. tit. 27, § 25903; Cal. Code Regs. tit.
    2   11, §§ 3100 et seq. Before filing suit under Proposition 65, a private party must
    3   serve on the alleged violator (as well as on the Attorney General, district attorneys,
    4   and identified local officials) a notice of the alleged Proposition 65 violation (the
    5   60-Day Notice). Cal. Health & Safety Code § 25249.7(d); Cal. Code Regs. tit. 27,
    6   § 25903.
    7            Among other requirements, the 60-Day Notice must be accompanied by a
    8   certificate of merit attesting that the certifier has consulted with one or more experts
    9   who analyzed the exposure to the product, and that based on that consultation
   10   believes there is a reasonable and meritorious case for the action.4 Cal. Health &
   11   Safety Code § 25249.7(d). A “[r]easonable and meritorious case” requires
   12   “documentation of exposure to a listed chemical,” and the certifier “must have a
   13   basis to conclude that there is merit to each element of the action on which the
   14   plaintiff will have the burden of proof.” Cal. Code Regs. tit. 11, § 3101(a). The
   15   certificate of merit served on the Attorney General must include “factual
   16   information sufficient to establish the basis of the certificate of merit, including the
   17   information identified in paragraph (2) of subdivision (h). . .” Cal. Health & Safety
   18   Code § 25249.7(d)(1). The referenced subdivision (h)(2), in turn, provides that the
   19   certifying party must have a “credible factual basis for the certifier’s belief that an
   20   exposure to a listed chemical had occurred or was threatened. . .” Id.
   21   § 25249.7(h)(2). Absent that factual basis, “the action shall be deemed frivolous[.]”
   22   Id. A private litigant cannot file a Proposition 65 claim and then attempt to
   23   discover facts necessary to support the 60-Day Notice or the certificate of merit.
   24
        4
   25       The Certificate of Merit affirms “that the person executing the certificate has
            consulted with one or more persons with relevant and appropriate experience or
   26       expertise who has reviewed facts, studies, or other data regarding the exposure
            to the listed chemical that is the subject of the action, and that, based on that
   27       information, the person executing the certificate believes there is a reasonable
            and meritorious case for the private action.” Cal. Health & Safety Code
   28       § 25249.7(d).
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    1   See Physicians Comm. For Responsible Med. v. KFC Corp. (PCRM), 224
    2   Cal.App.4th 166, 181 (2014).
    3            Assuming compliance with pre-suit requirements, including a factually
    4   supported certificate of merit, the private party can file a lawsuit under Proposition
    5   65 if, after 60 days from service of the notice, no authorized state or local official
    6   has commenced an action against the alleged violation. Cal. Health & Safety Code
    7   § 25249.7(d). Without a valid certificate of merit, however, the private party is not
    8   authorized to bring a lawsuit under Proposition 65. Cal. Code Regs. tit. 27,
    9   § 25903(a) (“No person shall commence an action to enforce the provisions of the
   10   Act. . .except in compliance with all requirements of this section.”); Cal. Code
   11   Regs. tit. 11, § 3103(a).
   12                      2.   Section 17200
   13            California Business & Professions Code section 17200 et seq. is commonly
   14   called California’s Unfair Competition Law (UCL). Under the UCL, “unfair
   15   competition” is defined as “any unlawful, unfair or fraudulent business act or
   16   practice.” Cal. Bus. & Prof. Code § 17200. A violation of another law can serve as
   17   the predicate for a Section 17200 violation. See People ex rel. Bill Lockyer v.
   18   Fremont Life Ins. Co., 104 Cal.App.4th 508, 515 (2002). The statute of limitations
   19   for alleged UCL violations is four years. Cal. Bus. & Prof. Code § 17208.
   20            Plaintiffs allege that Defendants violated Section 17200 because Defendants’
   21   actions were “unlawful” under two other statutes: Proposition 65, for “exposing”
   22   California consumers to asbestos; and the California Safe Cosmetics Act (Cal.
   23   Health & Safety Code §§ 111791 et seq.) (CSCA), for failing to disclose the
   24   asbestos in JBP and S+S. Complaint, ¶¶ 106-107. Plaintiffs also allege that
   25   Defendants’ conduct violated the “unfair” and “fraudulent” prongs of the UCL. Id.
   26   ¶¶ 108-111. In each case, the alleged Section 17200 violation is grounded and
   27   dependent on the presence of asbestos in Defendants’ products. Id. ¶¶ 106-111.
   28   ///
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    1                      3.   Section 17500
    2            California Business and Professions Code section 17500 is commonly called
    3   the False Advertising Law (FAL). In general terms, the FAL prohibits the use of
    4   untrue or misleading statements in the sale of real or personal property, or services.
    5   Cal. Bus. & Prof. Code § 17500. Private parties suing under the FAL can seek
    6   injunctive relief and restitution. Id. § 17535. The statute of limitations under the
    7   FAL is three years. Cal. Civ. Proc. Code § 338(a); see Yumul v. Smart Balance,
    8   Inc., 733 F.Supp.2d 1117, 1130 (C.D. Cal. 2010).
    9            As with Section 17200, Plaintiffs base the alleged Section 17500 violation on
   10   the purported presence of asbestos in Defendants’ products. See, e.g., Complaint,
   11   ¶ 119 (alleging Defendants violated Section 17500 by “[r]epresenting the JBP and
   12   S+S are safe for their intended and foreseeable use and ‘free of asbestos’, knowing
   13   said representations were false. . .”).
   14            C.        Procedural History
   15            Plaintiffs, through counsel, sent a Proposition 65 60-Day Notice and
   16   certificate of merit to Defendants on August 24, 2017. On March 6, 2018, Plaintiffs
   17   filed their complaint asserting the three causes of action discussed above.
   18   Defendants removed the case to federal court on May 31, 2018. Defendants now
   19   move to dismiss all of Plaintiffs’ causes of action for failure to allege facts on
   20   which a claim for relief can be stated (Fed.R.Civ.P. 12(b)(6)), and move to dismiss
   21   the Proposition 65 claim for the independent reason that Plaintiffs’ pre-filing
   22   certificate of merit lacked the required factual support.
   23   III.     STANDARD ON MOTION TO DISMISS
   24            A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the
   25   complaint. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). “While a
   26   complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed
   27   factual allegations, a plaintiff’s obligation to provide the ‘grounds’ of his
   28   ‘entitlement to relief’ requires more than labels and conclusions, and a formulaic
                                                             MEMO OF POINTS AND AUTHORITIES ISO MOTION
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    1   recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v.
    2   Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955 (2007) (internal citations omitted).
    3   The allegations in the complaint “must be enough to raise a right to relief above the
    4   speculative level.” Id. Accordingly, “[t]o survive a motion to dismiss, a complaint
    5   must contain sufficient factual matter, accepted as true, to ‘state a claim to relief
    6   that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937
    7   (2009). “A claim has facial plausibility when the plaintiff pleads factual content
    8   that allows the court to draw the reasonable inference that the defendant is liable for
    9   the misconduct alleged.” Id. “The plausibility standard is not akin to a ‘probability
   10   requirement,’ but it asks for more than a sheer possibility that a defendant has acted
   11   unlawfully.” Id. A complaint may be dismissed as a matter of law either for lack
   12   of a cognizable legal theory or for insufficient facts under a cognizable theory.
   13   Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530, 534 (9th Cir. 1984).
   14   IV.      PLAINTIFFS’ CAUSES OF ACTION SHOULD BE DISMISSED
   15            A.        Plaintiffs’ Factual Allegations Do Not Demonstrate That the
                           Relevant Products Exposed Consumers to Asbestos, Thus the
   16                      Proposition 65 Claim Should Be Dismissed.
   17            A Proposition 65 violation can only occur if, among other things, the
   18   defendant’s product for sale in California caused or threatened to cause an
   19   “exposure” to a chemical listed under Proposition 65.5 Cal. Health & Safety Code
   20   § 25249.6; Cal. Code Regs. tit. 27, § 25102(i). Of course, an exposure to a listed
   21   chemical can only occur if the product at issue contains that listed chemical. The
   22   statute of limitations applicable to Proposition 65 is one year, meaning that the
   23   alleged violation must have occurred within that one year time frame. Cal. Civ.
   24   Proc. Code § 340. To have a viable Proposition 65 cause of action, Plaintiffs must
   25   ///
   26   5
            As noted above, exposure by itself is not enough to establish liability. The
   27       exposure must exceed the NSRL for a Proposition 65 warning to be required.
            Cal. Health & Safety Code §§ 25249.7, 25249.10; Cal. Code Regs. tit. 27,
   28       § 25701.
                                                             MEMO OF POINTS AND AUTHORITIES ISO MOTION
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    1   show that Defendants’ products that were for sale in California in the year before
    2   Plaintiffs filed suit contained asbestos or talc containing asbestiform fibers.
    3            Plaintiffs’ Complaint does not make the required factual showing. Plaintiffs’
    4   allegations that Defendants’ products contain asbestos or asbestiform fibers are
    5   entirely conclusory. For instance, Plaintiffs allege: “At all times relevant to this
    6   action, Defendants have knowingly exposed California consumers to Asbestos and
    7   Talc Containing Asbestiform Fibers in the offending JBP and S+S talcum powder
    8   products without clear and reasonable warnings to such individuals.” Complaint,
    9   ¶ 83; id. ¶ 85 (“At all times relevant to this action, Defendants’ representatives have
   10   failed to warn California consumers that their JBP and S+S talcum powder products
   11   contain cancer-causing Asbestos and Talc Containing Asbestiform Fibers.”).
   12   Plaintiffs dedicate several pages of detailed allegations about talc and talcum
   13   powder products allegedly containing asbestos going back decades (see Complaint,
   14   pp. 7-17), but nowhere in the Complaint do Plaintiffs allege that they investigated
   15   Defendants’ products for sale within the year prior to this lawsuit, and based on that
   16   investigation, can demonstrate that those JBP and S+S products contain asbestos or
   17   asbestiform fibers. See Cal. Health & Safety Code § 25249.7(d)(1); Cal. Code
   18   Regs. tit. 11, §§ 3101, 3102; PCRM, 224 Cal. App. 4th at 180-81 (relevant time
   19   period for evidence of alleged violations is year before suit was filed).
   20            To state a valid Proposition 65 claim, Plaintiffs must allege, consistent with
   21   Rule 11, that they have that factual basis, namely, test results or some other
   22   particularized information showing asbestos or talc containing asbestiform fibers
   23   present in Defendants’ products for sale in California in the year prior to this
   24   lawsuit. Absent that showing, Plaintiffs cannot possibly, much less plausibly,
   25   demonstrate an actionable “exposure” and cannot have a viable Proposition 65
   26   cause of action. Twombly, 550 U.S. at 555, 127 S.Ct. 1955 (“[A] plaintiff’s
   27   obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than
   28   labels and conclusions, and a formulaic recitation of the elements of a cause of
                                                              MEMO OF POINTS AND AUTHORITIES ISO MOTION
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    1   action will not do.”) (internal citations omitted). Under the Iqbal/Twombly
    2   pleading standards, Plaintiffs must allege more than the conclusory statement that
    3   JBP and S+S “contained” asbestos and asbestiform fibers “at all times relevant to
    4   this action.” Plaintiffs must allege the specific factual basis on which that
    5   conclusion rests, and they have not done so.6
    6            B.        Plaintiffs’ Allegations Do Not Demonstrate That They Had a
                           Sufficient Factual Basis to Support the Certificate of Merit and
    7                      Bring a Proposition 65 Claim.
    8            Plaintiffs’ Proposition 65 cause of action should be dismissed for the
    9   independent reason that they have not demonstrated they had adequate factual
   10   support for their certificate of merit when they sent the 60-Day Notice. A defective
   11   certificate requires that the Proposition 65 claim be dismissed. In re Vaccine Cases,
   12   134 Cal.App.4th 438, 453-57 (2005); PCRM, 224 Cal.App.4th at 180.
   13            As explained above, Proposition 65 requires that a private plaintiff execute
   14   and include with the 60-Day Notice a certificate of merit, which among other things
   15   certifies that the noticing party has a credible factual basis to conclude that there is
   16   merit to each element of the action on which the plaintiff will have the burden of
   17   proof. Cal. Health & Safety Code § 25249.7(d); Cal. Code Regs. tit. 11, § 3101.
   18   Demonstrating that the defendant’s products exposed or threatened to expose
   19   California consumers to a listed chemical in the applicable time period is an
   20   essential element the plaintiff must prove. Cal. Health & Safety Code § 25249.6.
   21   Stated plainly, Plaintiffs must be able to prove, as an element of their prima facie
   22   case, that the products at issue contained the listed chemical.
   23   ///
   24   6
            In discovery, Plaintiffs will have to produce the evidence they are relying on to
   25       allege an actionable “exposure” to the listed chemicals. Before the Court and
            Defendants are forced to expend substantial time and resources on this litigation,
   26       Plaintiffs should be required to allege that they did indeed conduct the necessary
            investigation on the relevant products and do possess such facts. See PCRM,
   27       224 Cal.App.4th at 180-81 (Proposition 65 claim dismissed after two years of
            litigation; plaintiff could not produce evidence establishing “failure to warn”
   28       element of cause of action and lacked that evidence before filing the complaint).
                                                              MEMO OF POINTS AND AUTHORITIES ISO MOTION
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    1            To have validly executed the certificate of merit, Plaintiffs must have had a
    2   specific factual basis – at the time they sent the 60-Day Notice – demonstrating that
    3   the JBP and S+S products for sale in California within the prior year contained
    4   asbestos or talc containing asbestiform fibers. See PCRM, 224 Cal.App.4th at 179-
    5   80 (affirming dismissal without leave to amend where plaintiff’s “notice and
    6   certificate of merit were not supported by facts sufficient to provide a basis for
    7   [plaintiff] to believe that it could support the elements of its Proposition 65 claim”).
    8   That factual basis must include the results of Plaintiffs’ investigation showing an
    9   “exposure,” such as test results or some other particularized information,
   10   confirming the presence of asbestos or asbestiform fibers in the relevant JBP and
   11   S+S products. Cal. Code Regs. tit. 11, § 3101(a) (A “[r]easonable and meritorious
   12   case” requires “documentation of exposure to a listed chemical. . .”). Stated
   13   another way, if, when they sent the 60-Day Notice and certificate of merit,
   14   Plaintiffs did not have test results or other specific information showing that
   15   Defendants’ products for sale in California in the prior year contained asbestos or
   16   asbestiform fibers, Plaintiffs did not have an adequate factual basis for the
   17   certificate of merit. See Cal. Health & Safety Code § 25249.7(d)(1) (certificate of
   18   merit must be supported by “facts, studies, or other data regarding the exposure to
   19   the listed chemical that is the subject of the action”); PCRM, 224 Cal.App.4th at
   20   179.
   21            Plaintiffs do not allege that they conducted the necessary investigation on the
   22   relevant products and had the required factual basis when they executed the
   23   certificate of merit and sent the 60-Day Notice. Rather, they allege in boilerplate
   24   terms that “the Notice was issued pursuant to, and in compliance with, the
   25   requirements of Health and Safety Code § 25249.7(d).” Complaint, ¶ 13. All of
   26   Plaintiffs’ other allegations are wholly conclusory, without factual support, that JBP
   27   and S+S products “contained” asbestos and talc with asbestiform fibers “at all times
   28   relevant to this action.” See, e.g., Complaint, ¶¶ 83, 85. That is not sufficient to
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    1   state a Proposition 65 claim under Iqbal/Twombly, and it is not sufficient to
    2   demonstrate that the certificate of merit was properly supported by the required
    3   facts. See PCRM, 224 Cal.App.4th at 182 (“A notice that is unsupported by
    4   adequate investigation and information is equivalent to no notice at all.”); Cal.
    5   Code Regs. tit. 11, § 3101(a) (“Reasonable and meritorious case” requires
    6   “documentation of exposure to a listed chemical” and “a reasonable basis for
    7   concluding that the entire action has merit.”).
    8            Plaintiffs’ allegations demonstrate that their certificate of merit lacked the
    9   required factual support. Accordingly, Plaintiffs did not have authority to file their
   10   Proposition 65 claim, and it must be dismissed. Cal. Health & Safety Code
   11   § 25903(a) (“No person shall commence an action to enforce the provisions of the
   12   Act ‘in the public interest’ pursuant to Section 25249.7(d) of the Act except in
   13   compliance with all requirements of this section.”); Cal. Code Regs. tit. 11, § 3103
   14   (absent a valid certificate of merit, “the noticing party has no authority to
   15   commence an action” under Proposition 65); PCRM, 224 Cal.App.4th at 179
   16   (dismissing Proposition 65 claim because certificate of merit lacked factual basis).
   17            C.        Plaintiffs’ Section 17200 and Section 17500 Causes of Action Also
   18                      Lack The Required Factual Basis and Must Be Dismissed.

   19            Plaintiffs’ Section 17200 and Section 17500 claims are entirely based on, and
   20   dependent on, the alleged presence of asbestos or asbestiform fibers in Defendants’
   21   products sold within the applicable limitations period, which is three years under
   22   the FAL, and four years under the UCL. Cal. Bus. & Prof. Code § 17208 (UCL);
   23   Cal. Civ. Proc. Code § 338(a) (FAL). With regard to the UCL, Plaintiffs allege
   24   Defendants violated Section 17200 by: (1) exposing California consumers to
   25   asbestos in JBP and S+S, in violation of Proposition 65 (Complaint, ¶ 106);
   26   (2) failing to disclose the presence of asbestos in JBP and S+S, in violation of the
   27   CSCA (id. ¶ 107); and (3) concealing from and misleading consumers regarding
   28   asbestos in JBP and S+S, in violation of the “unfair” and “fraudulent” components
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    1   of the UCL (id. ¶¶ 108-111). Plaintiffs allege Defendants violated the FAL by
    2   “disseminating untrue and misleading statements” “[r]epresenting that JBP and S+S
    3   are safe for their intended and foreseeable use and ‘free of asbestos’, knowing that
    4   said representations were false…”). Id. ¶ 119.
    5            As demonstrated above, Plaintiffs have not provided any particularized
    6   factual basis for their contention that the relevant JBP and S+S products actually
    7   contain asbestos or asbestiform fibers. Plaintiffs do not allege that they or anyone
    8   else tested JBP or S+S sold in California within the prior three years (FAL) or four
    9   years (UCL), and that the results of that testing showed the presence of asbestos in
   10   those products. Quite the contrary – Plaintiffs only allegations that the relevant
   11   products contain asbestos are conclusory, entirely lacking any specific factual basis.
   12   See, e.g., Complaint, ¶ 54 (“To this day, many talc-containing products presently on
   13   the market, including JBP and S+S contain asbestos. . .”); id. ¶ 59 (“…their JBP
   14   and S+S did and continue to contain Asbestos…”); id. ¶ 83 (“At all times relevant
   15   to this action, Defendants have knowingly exposed California consumers to
   16   Asbestos…”); id. ¶ 85 (“At all times relevant to this action, Defendants’
   17   representatives have failed to warn California consumers that their JBP and S+S
   18   talcum powder products contain cancer-causing Asbestos…”).
   19            In short, Plaintiffs’ allegations fail to establish an adequate factual basis that
   20   Defendants’ JBP and S+S products sold during the relevant time periods contain
   21   asbestos or asbestiform fibers. Without that factual basis, Plaintiffs’ cause of action
   22   under Section 17200 necessarily fails because they do not have a plausible factual
   23   basis to show: (1) an “exposure” to asbestos under Proposition 65; (2) a failure to
   24   disclose the presence of asbestos under the CSCA; or (3) any of the “unfair” or
   25   “fraudulent” conduct regarding asbestos in JBP and S+S that Plaintiffs allege.
   26   Twombly, 550 U.S. at 555, 127 S.Ct. 1955. The same result follows for Plaintiffs’
   27   Section 17500 cause of action. Absent a particularized factual basis that JBP and
   28   S+S sold in California in the prior three years contained asbestos or asbestiform
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    1   fibers, Plaintiffs cannot plausibly show that Defendants violated the FAL by
    2   making untrue or misleading statements regarding asbestos in the relevant JBP and
    3   S+S products. Id.
    4            Because they do not allege an adequate factual basis that the relevant
    5   products actually contained asbestos or asbestiform fibers, Plaintiffs have failed to
    6   state a claim under Section 17200 or Section 17500. Fed.R.Civ.P. 12(b)(6).
    7   V.       CONCLUSION
    8            Plaintiffs have not alleged a sufficient factual basis under the Iqbal/Twombly
    9   standard to plausibly state a claim under Proposition 65, Section 17200 or Section
   10   17500. Plaintiffs’ allegations also do not demonstrate the necessary factual basis to
   11   satisfy Proposition 65 pre-filing notice and merit requirements, which
   12   independently precludes their Proposition 65 claim. For all of these reasons, each
   13   of Plaintiffs’ causes of action should be dismissed.
   14
   15   Dated:             June 7, 2018       MICHAEL WEED
                                              ORRICK, HERRINGTON & SUTCLIFFE LLP
   16
   17
                                              By:              /s/ Michael Weed
   18                                                          MICHAEL WEED
                                                            Attorneys for Defendants
   19                                               Johnson & Johnson and Johnson & Johnson
                                                                  Consumer Inc.
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